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                                        February 27, 2018

 VIA ECF

 Honorable Michael A. Hammer, Magistrate Judge
 United States District Court, District of New Jersey
 50 Walnut Street 2C
 Newark, NJ 07101

          RE:       Amanda Hager v. National Recovery Agency
                    Case No. 17-7450 (MCA)(MAH)

 Dear Judge Hammer:

        As you are aware, our firm represents Defendant National Recovery Agency (“NRA”) in
 the above referenced matter. We are writing to the court pursuant to Your Honor’s February 22,
 2018 Order requiring that NRA provide the Court with an update concerning settlement
 negotiations.

         To date, the parties in this matter have been unable to reach an agreement as to
 reasonable attorney’s fees. NRA is open to engaging in further discussions with Counsel for
 Plaintiff, or any other methods Your Honor deems appropriate to resolve this matter.

          NRA is most appreciative for Your Honor’s consideration.



                                              Respectfully Submitted,

                                              /s/ R. Andrew Scott

                                              R. ANDREW SCOTT


 cc:      All Counsel, via ECF




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